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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF PUERTO RICO

       IN RE:                                                           CASE NO. 14-00792-BKT

       MARIA IVETTE ORTIZ RIVERA
                                                                        CHAPTER 13
       DEBTOR


                       MOTION REQUESTING ENTRY OF ORDER
        RE: APPLICATION FOR AUTHORIZATION TO RETAIN COUNSEL, DOCKET #17

       TO THE HONORABLE COURT:
                COMES NOW, MARIA IVETTE ORTIZ RIVERA, debtor in the above captioned case,
       through the undersigned attorney, and respectfully states and prays as follows:
                1. Debtor filed the instant case on February 5, 2014.
                2. Debtor desires and requires the employment of Carlos J. Correa Ramos, Esq. as counsel in
       order to continue to litigate an action commenced in state court by debtor against Mapfre/Praico Ins.
       Co.; Juan I. Lopez Malave; Demandados Desconocidos A, B, C,; Aseguradoras X, y Z, and also to
       litigate possible claims against that defendant(s) and /or any insurance agencies.
                3. Therefore, the debtor hereby respectfully submits that on April 29, 2014, she filed an
       Application for Authorization to Retain Counsel, docket #17, in order to request that debtor be
       authorized to employ Carlos J. Correa Ramos, Esq. as counsel, to render the services as described in
       the foregoing application, with compensation to be paid at the end of the civil case. The motion has
       not been neither granted nor denied by the Court.
                WHEREFORE it is respectfully requested from this Honorable Court that an Order to
       authorize debtor to employ Carlos J. Correa Ramos, Esq. as counsel be entered, in the above
       captioned case.
                I CERTIFY, that on this same date a copy of this Notice was filed with the Clerk of the
       Court using the CM/ECF system which will send notice of same to the Chapter 13 Trustee, the US
       Trustee’s Office, and all CM/ECF participants; I also certify that a copy of this notice was sent via
       regular US mail to the debtor, Maria Ivette Ortiz Rivera, to her address of record: PO Box 1206
       Yabucoa PR 00767; and to all creditors and interested parties, in the above captioned case.
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       Motion Requesting Entry of Order
       Case no. 14-00792-BKT13



              RESPECTFULLY SUBMITTED. In San Juan, Puerto Rico, this 27th day of May, 2014.

                                              /s/ Roberto Figueroa Carrasquillo
                                              ROBERTO FIGUEROA CARRASQUILLO
                                              USDC #203614
                                              ATTORNEY FOR PETITIONERS
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